                Case 07-44102                      Doc 89            Filed 04/15/09 Entered 04/15/09 18:46:10            Desc Main
                                                                       Document     Page 1 of 6


                                                            UNITED STATES BANKRUPTCY COURT
                                                               DISTRICT OF MASSACHUSETTS

                                                                 CHAPTER 13 PLAN COVER SHEET

 Filing Date:                 11/16/07                                                 Docket #:    07-44102
 Debtor:                      Terry Roy                                                Co-Debtor:   Kandy Roy
 SS#:                         xxx-xx-2531                                              SS#:         xxx-xx-8935
                              83 Chestnut Street                                                    83 Chestnut Street
 Address:                     Gardner, MA 01440                                        Address:     Gardner, MA 01440

 Debtor's Counsel: Daniel Gindes 557499
                              16 Front Street
 Address:                     Salem, MA 01970
 Telephone #:                 (978) 741-4320
 Facsimile #:


ATTACHED TO THIS COVER SHEET IS THE CHAPTER 13 PLAN FILED BY THE DEBTOR(S) IN THIS CASE. THIS PLAN
SETS OUT THE PROPOSED TREATMENT OF THE CLAIMS OF CREDITORS. THE CLAIMS ARE SET FORTH IN THE
BANKRUPTCY SCHEDULES FILED BY DEBTOR(S) WITH THE BANKRUPTCY COURT.


YOU WILL RECEIVE A SEPARATE NOTICE FROM THE BANKRUPTCY COURT OF THE SCHEDULED CREDITORS'
MEETING PURSUANT TO 11 U.S.C. § 341. THAT NOTICE WILL ALSO ESTABLISH THE BAR DATE FOR FILING
PROOFS OF CLAIMS.


PURSUANT TO THE MASSACHUSETTS LOCAL BANKRUPTCY RULES, YOU HAVE UNTIL THE LATER OF (i) THIRTY
(30) DAYS AFTER THE FIRST DATE SET FOR THE SECTION 341 MEETING, OR (ii) THIRTY (30) DAYS AFTER SERVICE
OF A MODIFIED PLAN TO FILE AN OBJECTION TO CONFIRMATION OF THE CHAPTER 13 PLAN, WHICH OBJECTION
MUST BE SERVED ON THE DEBTOR, DEBTOR'S COUNSEL AND THE CHAPTER 13 TRUSTEE.




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                  Case 07-44102                    Doc 89            Filed 04/15/09 Entered 04/15/09 18:46:10                               Desc Main
                                                                       Document     Page 2 of 6

                                                               OFFICIAL FORM 3
                                                      PRE-CONFIRMATION CHAPTER 13 PLAN

                                                                                CHAPTER 13 PLAN


                                                                                                         Docket No.: 07-44102

 DEBTORS:                   (H)       Terry Roy                                                                    SS#        xxx-xx-2531

                            (W)       Kandy Roy                                                                    SS#        xxx-xx-8935




I. PLAN PAYMENT AND TERM:

      Debtor's shall pay monthly to the Trustee the sum of $                           217.00   for the term of:

          36 Months. 11 U.S.C. § 1325(b)(4)(A)(i);

          60 Months. 11 U.S.C. § 1325(b)(4)(A)(i);

          60 Months. 11 U.S.C. § 1322(d)(2). Debtor avers the following cause:



                  Months. The Debtor states as reasons therefore:




II. SECURED CLAIMS

A. Claims to be paid through the plan (including arrears):

 Creditor                                                Description of Claim (pre-petition arrears,                                    Amount of Claim
                                                         purchase money, etc.)
 -NONE-                                                                                                            $

              Total of secured claims to be paid through the Plan $                                                    0.00

B. Claims to be paid directly by debtor to creditors (Not through Plan):

 Creditor                                                                                          Description of Claim
 Eastern Bank
 GFA
 Option One Mortgage Co

C. Modification of Secured Claims:

 Creditor                                                       Details of Modification                                          Amt. of Claim to Be Paid
                                                                (Additional Details                                                         Through Plan
                                                                May Be Attached)
 -NONE-

D. Leases:

             i.    The Debtor(s) intend(s) to reject the residential/personal property lease claims of
                    -NONE-

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                Case 07-44102                      Doc 89            Filed 04/15/09 Entered 04/15/09 18:46:10                Desc Main
                                                                       Document     Page 3 of 6

                   ; or

             ii. The Debtor(s) intend(s) to assume the residential/personal property lease claims of
                       -NONE-
                   .

             iii. The arrears under the lease to be paid under the plan are 0.00 .

III. PRIORITY CLAIMS

A. Domestic Support Obligations:

 Creditor                                                Description of Claim                                               Amount of Claim
 -NONE-                                                                                                         $

B. Other:

 Creditor                                                Description of Claim                                               Amount of Claim
 -NONE-                                                                                                         $

                                                Total of Priority Claims to Be Paid Through the Plan $                                   0.00


IV. ADMINISTRATIVE CLAIMS

A. Attorneys fees (to be paid through the plan):                                                                               $   3,000.00

B. Miscellaneous fees:

 Creditor                                                Description of Claim                                               Amount of Claim
 -NONE-                                                                                                         $

C. The Chapter 13 Trustee's fee is determined by Order of the United States Attorney General. The calculation of the Plan payment
   set forth utilizes a 10% Trustee's commission.


V. UNSECURED CLAIMS

The general unsecured creditors shall receive a dividend of                            6   % of their claims.

A. General unsecured claims:                                                                                            $   134,775.00

B. Undersecured claims arising after lien avoidance/cramdown:

 Creditor                                                Description of Claim                                               Amount of Claim
 Eastern Bank                                                                                                       $                2,350.00
 GFA                                                                                                                $                2,225.00

C. Non-Dischargeable Unsecured Claims:

 Creditor                                                Description of claim                                               Amount of Claim
 -NONE-                                                                                                             $

 Total of Unsecured Claims (A + B + C):                                                                                            139,350.00
                                                                                                                    $

D. Multiply total by percentage: $       8,718.00
(Example: Total of $38,500.00 x .22 dividend = $8,470.00)




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                Case 07-44102                      Doc 89            Filed 04/15/09 Entered 04/15/09 18:46:10                     Desc Main
                                                                       Document     Page 4 of 6

E. Separately classified unsecured claims (co-borrower, etc.):

              Creditor                                            Description of claim                                           Amount of claim
              -NONE-                                                                                           $

              Total amount of separately classified claims payable at                         %                    $                            0.00


VI. OTHER PROVISIONS


             A. Liquidation of assets to be used to fund plan:


             B. Miscellaneous provisions:



VII. CALCULATION OF PLAN PAYMENT

 a) Secured claims (Section II-A&D Total):                                                 $                                         0.00
 b) Priority claims (Section III-A&B Total):                                               $                                         0.00
 c) Administrative claims (Section IV-A&B Total):                                          $                                     3,000.00
 d) Regular unsecured claims (Section V-D Total):                                          $                                     8,718.00
 e) Separately classified unsecured claims:                                                $                                         0.00
 f) Total of a + b + c + d + e above:                                                    =$                                    11,718.00
 g) Divide (f) by .90 for total including Trustee's fee:
                                                       Cost of Plan=                       $                                   13,020.00

                    (This represents the total amount to be paid into the chapter 13 plan)
 h. Divide (g), Cost of Plan, by Term of plan,                                                                               60 months
 i. Round up to nearest dollar for Monthly Plan Payment:                                   $                                      217.00
 (Enter this amount on page 1)

Pursuant to 11 U.S.C. § 1326(a) (1), unless the Court orders otherwise, a debtor shall commence making the payments proposed by a
plan within thirty (30) days after the plan is filed.
Pursuant to 11 U.S.C. §1326(a)(1)(C), the debtor shall make preconfirmation adequate protection payments directly to the secured
creditor.


VIII. LIQUIDATION ANALYSIS

A. Real Estate:

 Address                                                                                   Fair Market Value       Total Amount of Recorded Liens
                                                                                                                                     (Schedule D)
 83 Chestnut Street Gardner MA (Liens are
 probably understated, and equity is
 overstated as the company has not provided
 an exact payoff figure, and the debtors are
 behind in thier payments)                                                     $                  252,000.00   $                      249,375.00
 Calypso Cay Timeshare                                                         $                        0.00   $                            4,054.00

 Total Net Equity for Real Property:                          $                        2,625.00
 Less Exemptions (Schedule C):                                $                        2,625.00
 Available Chapter 7:                                         $                            0.00



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                Case 07-44102                      Doc 89            Filed 04/15/09 Entered 04/15/09 18:46:10                    Desc Main
                                                                       Document     Page 5 of 6

B. Automobile (Describe year, make and model):

 2001 Dodge 1500                                             Value $                    4,550.00 Lien $              0.00 Exemption $          4,550.00
 2007 Chevy Trailblazer                                      Value $                   11,775.00 Lien $         14,000.00 Exemption $              0.00
 2008 Nissan Altima                                          Value $                   12,650.00 Lien $         15,000.00 Exemption $              0.00

 Total Net Equity:                                            $ 4,550.00
 Less Total Exemptions (Schedule C):                          $ 4,550.00
 Available Chapter 7:                                         $ 0.00

C. All other Assets (All remaining items on Schedule B): (Itemize as necessary)
 Cash
 Bank of America
 Furniture- living room
 Furniture- kitchen, including goods, supplies, and appliances
 Furniture- bed rooms
 Small electronics
 Home office
 Books, prints, pictures, decorative objects
 Used clothes
 Wedding rings
 Raytheon 401k (approximate value as of date of original filing)
 German Shepherd

 Total Net Value:                                             $ 28,748.00
 Less Total Exemptions (Schedule C):                          $ 28,748.00
 Available Chapter 7:                                         $ 0.00

D. Summary of Liquidation Analysis (total amount available under Chapter 7):

 Net Equity (A and B) plus Other Assets (C) less all claimed exemptions: $                                                0.00

E. Additional Comments regarding Liquidation Analysis:



IX. SIGNATURES

Pursuant to the Chapter 13 rules, the debtor or his or her counsel is required to serve a copy of the Plan upon the Chapter 13 Trustee,
all creditors and interested parties, and to file a Certificate of Service accordingly.

 /s/ Daniel Gindes                                                                             April 15, 2009
 Daniel Gindes 557499                                                                              Date
 Debtor's Attorney
 Attorney's Address: 16 Front Street
                                Salem, MA 01970
                                Tel. #:        (978) 741-4320
                                Email Address: dgindes@hotmail.com




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                Case 07-44102                      Doc 89            Filed 04/15/09 Entered 04/15/09 18:46:10   Desc Main
                                                                       Document     Page 6 of 6

I/WE DECLARE UNDER THE PENALTIES OF PERJURY THAT THE FOREGOING REPRESENTATIONS OF FACT ARE
TRUE AND CORRECT TO THE BEST OF OUR KNOWLEDGE AND BELIEF.


 Date April 15, 2009                                                           Signature   /s/ Terry Roy
                                                                                           Terry Roy
                                                                                           Debtor


 Date April 15, 2009                                                           Signature   /s/ Kandy Roy
                                                                                           Kandy Roy
                                                                                           Joint Debtor




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